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CERTIFICATE OF SERVICE

I, James S. Green, Jr. hereby certify that this 30th day of September 2020, the

foregoing Answer, Affirmative Defenses and Counterclaims of MSN Laboratories

Private Limited and MSN Pharmaceuticals, Inc. was served upon all counsel of

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